JS 44 (Rev. 03/24)                 Case 2:24-cv-02157-MTL
                                                     CIVILDocument
                                                           COVER1-1   Filed 08/22/24 Page 1 of 1
                                                                   SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                              DEFENDANTS
       Tierra Parsons, Montriece Baker Murray, Jhamal Brown,
                                                                                                               Scottsdale Unified School District
       Tyrone Washington, Craig Rinaldi, and Dave Mencl
   (b) County of Residence of First Listed Plaintiff Maricopa                                                  County of Residence of First Listed Defendant              Maricopa
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                    (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                               NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                          THE TRACT OF LAND INVOLVED.

    (c) Attorneys (Firm Name, Address, and Telephone Number)                                                    Attorneys (If Known)

          O'Connor & Hurt, PLLC, Attn: Eric O'Connor, Esq.
          PO Box 15087, Phoenix, AZ 85060, 602-910-5223
II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                           III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                            (For Diversity Cases Only)                                    and One Box for Defendant)
    1   U.S. Government                  ✖   3   Federal Question                                                                    PTF        DEF                                         PTF      DEF
          Plaintiff                                (U.S. Government Not a Party)                      Citizen of This State          ✖ 1          1      Incorporated or Principal Place         4   ✖ 4
                                                                                                                                                           of Business In This State

    2   U.S. Government                      4   Diversity                                            Citizen of Another State            2          2   Incorporated and Principal Place           5         5
          Defendant                                (Indicate Citizenship of Parties in Item III)                                                           of Business In Another State

                                                                                                      Citizen or Subject of a             3          3   Foreign Nation                             6         6
                                                                                                        Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                         Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                                    TORTS                            FORFEITURE/PENALTY                       BANKRUPTCY                       OTHER STATUTES
    110 Insurance                        PERSONAL INJURY                    PERSONAL INJURY              625 Drug Related Seizure             422 Appeal 28 USC 158             375 False Claims Act
    120 Marine                           310 Airplane                      365 Personal Injury -             of Property 21 USC 881           423 Withdrawal                    376 Qui Tam (31 USC
    130 Miller Act                       315 Airplane Product                  Product Liability         690 Other                                28 USC 157                        3729(a))
    140 Negotiable Instrument                 Liability                    367 Health Care/                                                     INTELLECTUAL                    400 State Reapportionment
    150 Recovery of Overpayment          320 Assault, Libel &                  Pharmaceutical                                                 PROPERTY RIGHTS                   410 Antitrust
        & Enforcement of Judgment             Slander                          Personal Injury                                                820 Copyrights                    430 Banks and Banking
    151 Medicare Act                     330 Federal Employers’                Product Liability                                              830 Patent                        450 Commerce
    152 Recovery of Defaulted                 Liability                    368 Asbestos Personal                                              835 Patent - Abbreviated          460 Deportation
         Student Loans                   340 Marine                            Injury Product                                                     New Drug Application          470 Racketeer Influenced and
         (Excludes Veterans)             345 Marine Product                    Liability                                                      840 Trademark                         Corrupt Organizations
    153 Recovery of Overpayment               Liability                   PERSONAL PROPERTY                       LABOR                       880 Defend Trade Secrets          480 Consumer Credit
        of Veteran’s Benefits            350 Motor Vehicle                 370 Other Fraud               710 Fair Labor Standards                 Act of 2016                       (15 USC 1681 or 1692)
    160 Stockholders’ Suits              355 Motor Vehicle                 371 Truth in Lending              Act                                                                485 Telephone Consumer
    190 Other Contract                       Product Liability             380 Other Personal            720 Labor/Management                 SOCIAL SECURITY                       Protection Act
    195 Contract Product Liability       360 Other Personal                    Property Damage               Relations                        861 HIA (1395ff)                  490 Cable/Sat TV
    196 Franchise                            Injury                        385 Property Damage           740 Railway Labor Act                862 Black Lung (923)              850 Securities/Commodities/
                                         362 Personal Injury -                 Product Liability         751 Family and Medical               863 DIWC/DIWW (405(g))                Exchange
                                             Medical Malpractice                                             Leave Act                        864 SSID Title XVI                890 Other Statutory Actions
        REAL PROPERTY                      CIVIL RIGHTS                   PRISONER PETITIONS             790 Other Labor Litigation           865 RSI (405(g))                  891 Agricultural Acts
    210 Land Condemnation                440 Other Civil Rights            Habeas Corpus:                791 Employee Retirement                                                893 Environmental Matters
    220 Foreclosure                      441 Voting                        463 Alien Detainee                Income Security Act              FEDERAL TAX SUITS                 895 Freedom of Information
    230 Rent Lease & Ejectment           442 Employment                    510 Motions to Vacate                                              870 Taxes (U.S. Plaintiff             Act
    240 Torts to Land                    443 Housing/                          Sentence                                                            or Defendant)                896 Arbitration
    245 Tort Product Liability               Accommodations                530 General                                                        871 IRS—Third Party               899 Administrative Procedure
    290 All Other Real Property          445 Amer. w/Disabilities -        535 Death Penalty                 IMMIGRATION                           26 USC 7609                      Act/Review or Appeal of
                                             Employment                    Other:                        462 Naturalization Application                                             Agency Decision
                                         446 Amer. w/Disabilities -        540 Mandamus & Other          465 Other Immigration                                                  950 Constitutionality of
                                             Other                         550 Civil Rights                  Actions                                                                State Statutes
                                     ✖   448 Education                     555 Prison Condition
                                                                           560 Civil Detainee -
                                                                               Conditions of
                                                                               Confinement
V. ORIGIN (Place an “X” in One Box Only)
✖   1 Original             2 Removed from                         3     Remanded from               4 Reinstated or             5 Transferred from      6 Multidistrict                     8 Multidistrict
      Proceeding             State Court                                Appellate Court               Reopened                    Another District          Litigation -                      Litigation -
                                                                                                                                  (specify)                 Transfer                          Direct File
                                             Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                             42 U.S.C. § 2000d
VI. CAUSE OF ACTION Brief description of cause:
                                             Retaliation in Violation of Civil Rights of Students
VII. REQUESTED IN                                 CHECK IF THIS IS A CLASS ACTION                        DEMAND $                                    CHECK YES only if demanded in complaint:
     COMPLAINT:                                   UNDER RULE 23, F.R.Cv.P.                               TBD                                         JURY DEMAND:                 ✖   Yes          No
VIII. RELATED CASE(S)
                                                 (See instructions):
      IF ANY                                                             JUDGE                                                                DOCKET NUMBER
DATE                                                                       SIGNATURE OF ATTORNEY OF RECORD
08/22/2024                                                                 /s/ Eric O'Connor
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                        APPLYING IFP                                    JUDGE                           MAG. JUDGE
